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1    JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
2    CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    SAY TAYLOR
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   NO. 1:12-cr-0341 LJO-SKO
                                                       )
12                          Plaintiff,                 )
                                                       )   WAIVER OF DEFENDANT’S PERSONAL
13          v.                                         )   PRESENCE AT PRETRIAL PROCEEDINGS;
                                                       )   ORDER THEREON
14   SAY TAYLOR,                                       )
                                                       )
15                          Defendant.                 )
                                                       )
16                                                     )
17          Pursuant to F. R. Crim. P. 43(b)(2) and (3), Defendant, Say Taylor, having been advised of his
18   right to be present at all stages of the proceedings, hereby requests that this Court proceed in his absence
19   on every occasion that the Court may permit, pursuant to this waiver. Defendant agrees that his interests
20   shall be represented at all times by the presence of his attorney, the Office of the Federal Defender for the
21   Eastern District of California, the same as if Defendant were personally present, and requests that this
22   court allow his attorney-in-fact to represent his interests at all times. Defendant further agrees that notice
23   to defendant's attorney that defendant's presence is required will be deemed notice to the defendant of the
24   requirement of his appearance at said time and place.
25          Defendant makes this request because of the time, distance and expense involved, travel to Fresno
26   for court appearances would be both a financial and personal hardship. Defendant wishes to limit the
27   number of personal court appearances and minimize the time and expense of travel to court. Mr. Taylor
28   current lives in the Los Angeles area. His daughter is disabled and Mr. Taylor needs to transport her to a
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1    number of different medical appointments. Mr. Taylor is currently in compliance with all his conditions
2    under Pretrial Services.
3             This request is made pursuant to Fed.R.Crim.P. 43(b)(3).
4
5             DATED:       1/23/2013
6                                                          /s/ Say Taylor
                                                           SAY TAYLOR
7
8
9             DATED: 1/28/13
10                                                         /s/ Charles J. Lee
                                                           CHARLES J. LEE
11                                                         Assistant Federal Defender
                                                           Attorney for Defendant
12                                                         Say Taylor
13
14
15                                                   ORDER
16            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s appearance may be
17   waived at any and all non-substantive pretrial proceedings until further order of the court.
18
19   IT IS SO ORDERED.
20   Dated:      January 28, 2013                        /s/ Sheila K. Oberto
     ie14hj                                      UNITED STATES MAGISTRATE JUDGE
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28

     W aiver of Defendant’s Personal Presence;
     [Proposed] Order Thereon                            -2-
